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           EXHIBIT D
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                        APPLICATION FOR PATENT UNDER 37 C.F.R. §1.53(c)
                                    TRANSMITTAL FORM




COMMISSIONER FOR PATENTS
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Dear Sir:


Enclosed application parts are: __X_ Transmittal Fonn        Total number of Pages _l_
                                __X_ Spec w/Claims           Total number of Pages __±1
                                __X_ Drawings                Total number of Pages _4_

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TITLE OF INVENTION: MATCHING PROCESS SYSTEM AND METHOD

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Was this invention made under a Government contract 9       _K__No            Yes
Identify contract and the Government agency: NIA

         The Commissioner is hereby authorized to charge the Provisional Application Filing Fee in the amount of
$105.00 for a small entity filing fee to the Deposit Account No. 02-0384 of Baker Botts L.L.P. The Commissioner
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Respectfully submitted,



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                                                                          Date:        December 19, 2007

Registration No. 48,022



                     PROVISIONAL APPLICATION FOR PATENT ONLY
                                  SMALL ENTITY

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                   MATCHING PROCESS SYSTEM AND METHOD


     TECHNICAL FIELD
 5         This invention relates generally to computer systems
     and   more   particularly   to   a       matching   process   system   and
     method.




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     BACKGROUND
             Networking           architectures                   have       grown          increasingly
     complex in communications environments.                                          In recent years,
     a     series      of      protocols            and       configurations                  have        been
 5   developed in order to accommodate a                                    diverse group of end
     users     having        various         networking             needs.             Many       of    these
     architectures             have    gained        significant                  notoriety        because
     they can offer              the    benefits             of   automation,               convenience,
     management, and enhanced consumer selections.
10           Certain        network         protocols             may       be    used      in    order     to
     allow      an     end      user        to     conduct             an        on-line         search     of
     candidates to fill a                   given vacancy.                   These protocols may
     relate      to      job    searches,           person             finding         services,          real
     estate     searches,         or on-line dating.                             While      some believe
15   that on-line dating is simply a matter of matching supply
     and demand,          there        is    statistical               and       empirical        evidence
     to     suggest       that     successful                on-line         dating         entails        far
     more.
             For example,          people having similar and/or compatible
20   character        traits      and values                 should be            matched        together.
     However,         effectively            linking          two       participants               together
     can prove        to be a          challenging endeavor.                           Coordinating a
     relationship between two like-minded individuals can be a
     significant chore,                as there are a number of obstacles and
25   barriers that must be overcome.
             One      problem          that        has        arisen             is    that       matching
     services are limited to searching for matches only within
     their     own     platform.                 Thus,       only       people         who       have    gone
     through       the      process         of    signing          up       for       the   service        are
30   searched for a match.                   One solution to this problem is to
     have     users         register         in     multiple                services.             This      is
     problematic            because          it      can          be        expensive            and      time
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    consuming for users.          Further,    the user must          then visit
    all of the services to monitor the search progress:                        this
    inefficiency   may    cause    users     to   give    up   on   the    search
    process.
5        Another problem is that the search results of                         these
    services    contain     many     irrelevant           entities        to     the
    searcher.     This   costs    the user of       the    service    time      and
    may deter them from continuing through all of the search
    results.
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     SUMMARY
             In       one       embodiment,                a        matching             method           comprises
     generating a               pool      of    entities             and applying at                      least        one
     scoring          algorithm           to     the           pool    of       entities.                   It        also
 5   comprises          tabulating             the        at       least   one          score        from       the     at
     least       one        scoring        algorithm                 and     applying            an        ordering
     algorithm             to     the      at     least              one     score.                  It         further
     comprises presenting a                      list of matches which are ordered
     based on the results of the ordering algorithm.
10           Generating a pool may comprise choosing at least one
     seed     entity and generating                            a     score      by       comparing              the     at
     least       one        seed       entity         with           other          entities.                   It     may
     further          comprise          setting            a       threshold            score        and        adding
     entities          to   the pool whose                     score       is       above       the       threshold
15   score.
             The matching method may further                                        comprise presenting
     a    list     of       matches,           which           are    associated                with        a        first
     user,       to    a    second         user.               Further,         it       may     comprise              the
     second       user          indicating            a        preference               for     at    least            one
20   entity in the                list     of matches                 associated with                     the        first
     user.        It       also may comprise presenting the at                                            least        one
     preference of the second user to the first user.
             In another embodiment,                            a matching system comprises a
     first     platform              configured            to       store       a       first    set        of        user
25   profiles.                  It     further             comprises                a     second           platform
     configured to               store a        second set of user profiles.                                           The
     second platform                 is    further             configured               to    search            through
     both the          first         set and second set of user profiles.                                               It
     is     also        configured              to,        within           the          second           platform,
3O   present          to    the      second      platform              search            results          from         the
     first       set       of    profiles.                Further,           it         is    configured               to,
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     within the first platform,                  present          to     the    first platform
     search results from the second set of user profiles.
           Depending       on        the     specific             features        implemented,
     particular embodiments may exhibit some,                               none,      or all of
 5   the   following      technical         advantages.                 Various     embodiments
     may   be    capable        of    searching            for     matches        on    multiple
     platforms.        Some embodiments may be capable of adjusting
     the   search      algorithms           based         on      the     sex    of    the    user
     requesting     the    search          for   a       match.         Various     embodiments
10   may be     capable of       updating returned search results based
     on    activities       communicated                  to      the     system.            Other
     technical      advantages         will          be    readily         apparent      to    one
     skilled      in      the        art     from           the         following       figures,
     description and claims.
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     BRIEF DESCRIPTION OF THE DRAWINGS
             Reference       is    now made             to    the       following        description
     taken     in     conjunction            with           the        accompanying          drawings,
     wherein like reference numbers represent like parts,                                              and
 5   which:
             FIGURE     lA    is       an overview of                  one     embodiment         of     the
     matching system.
             FIGURE     lB    shows         the    contents             of     the    terminal         from
     FIGURE lA.
10           FIGURE lC shows the contents of the matching server
     from FIGURE lA.
             FIGURE lD is a diagram of a                           database from FIGURE lC
     showing one embodiment of how a matching server stores a
     pool.
15           FIGURE lE is a diagram of the display from FIGURE lB
     showing      one       embodiment            of        the    presentation              of    search
     results to a user.
             FIGURE lF is a diagram of the display from FIGURE lB
     showing one embodiment of the presentation of details of
20   a match result entity to a user.
             FIGURE     2     is       a    diagram          depicting          how     a     user      may
     recommend an entity to another user,                                   in accordance with a
     particular embodiment.
             FIGURE 3        is a diagram of the display from FIGURE lB
25   depicting        how     the          user        may        be    made         aware    of       fate
     characteristics              the       user       shares           with     a     match       result
     entity,      in accordance with a particular embodiment.
             FIGURE     4    is    a       diagram          depicting          how    two    platforms
     may     be     searched        for       a    match,              in    accordance           with     a
30   particular embodiment.
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       FIGURE     5    is   a   flow   chart   indicating      how    a   result
list   may   be       generated   1   in   accordance   with   a     particular
embodiment.
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     DETAILED DESCRIPTION
                Referring to FIGURE lA,                           one embodiment of a matching
     system is shown.                       FIGURE lA is a simplified block diagram
     of     a     system              100    for        facilitating             an        on-line     dating
 5   scenario in a network environment.                                     In other embodiments,
     system 100 can be                      leveraged to                identify and to evaluate
     suitable                candidates                   in            other              areas           (e.g.
     hiring/employment,                       recruiting,                 real        estate,         general
     person          searches,              etc.) .               Users     14        interact       with      a
10   matching server 20 through terminals lO.                                              FIGURE lB is a
     diagram          showing,              in     one        embodiment,             the     contents        of
     terminal 10.                 Terminal 10 comprises interface 16                                 (so that
     user       14    may        be     able       to    interact         with        terminal       10)    and
     display          12.             FIGURE       lC    is       a     diagram        showing,       in    one
15   embodiment,             the contents of matching server 20.                                     Matching
     server          20    comprises             memory 26            and at      least       one    CPU 28.
     Memory 26 may store multiple databases,                                          such as databases
     26a    and           26b.         Terminal          10       and    matching           server    20    are
     communicatively                   coupled          via       network        connections          22    and
20   network 24.
                Users            14     are        clients,              customers,            prospective
     customers,             or entities wishing to participate                                     in an on-
     line         dating              scenario           and/or           to      view         information
     associated with other participants in the system.                                                  Users
25   14 may also seek to access or to initiate a communication
     with other users                       that    may be            delivered via network                  24.
     Users 14 may review data                            (such as profiles,                   for example)
     associated             with        other       users          in    order        to    make     matching
     decisions or elections.                             Data,        as used herein,              refers to
30   any type of numeric,                        voice,        video,      text,        or script data,
     or     any       other           suitable          information              in    any     appropriate
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     format       that           may        be           communicated               from        one        point          to
     another.
             In    one          embodiment,                  terminal          10    represents                 (and      is
     inclusive          of)       a    personal                   computer         that    may        be       used       to
 5   access       network             24.               Alternatively,              terminal              10       may    be
     representative                   of    a           cellular         telephone,             an        electronic
     notebook,          a    laptop,                a    personal         digital          assistant                ( PDA) ,
     or any other suitable device                                      {wireless or otherwise:                          some
     of which can perform web browsing),                                           component,             or element
10   capable of             accessing one or more                              elements within system
     100.     Interface 16,                     which may be provided in conjunction
     with    the       items           listed               above,       may       further       comprise                any
     suitable         interface                 for          a    human       user        such       as        a     video
     camera,      a     microphone,                     a    keyboard,         a    mouse,       or any other
15   appropriate                  equipment                        according               to             particular
     configurations and arrangements.                                          In addition,                interface
     16     may    be       a    unique                 element         designed          specifically                   for
     communications involving system 100.                                            Such an element may
     be     fabricated                or        produced               specifically              for           matching
20   applications involving a user.
             Display             12,        in              one    embodiment,              is        a        computer
     monitor.           Alternatively,                           display      12    may be       a        projector,
     speaker,           or       other                  device         that        allows        user              14     to
     appreciate information that system 100 transmits.
25           Network            24     is       a       communicative               platform operable                     to
     exchange         data            or    information                   emanating         from           user          14.
     Network 24 could be a                              plain old telephone system                                 {POTS) .
     Transmission of                   information emanating                          from       the           user may
     be assisted by management associated with matching server
30   20   or manually keyed into a                                     telephone or other suitable
     electronic             equipment.                      In    other    embodiments,                   network         24

     could        be            any         packet                 data        network            offering                 a
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     communications            interface     or        exchange            between         any       two
     nodes in system 100.              Network 24 may alternatively be any
     local        area    network      (LAN),         metropolitan                 area     network
     (MAN)   I    wide     area    network         (WAN)    I        wireless         local         area
 5   network       (WLAN},      virtual private network                      (VPN},       intranet,
     or   any      other       appropriate       architecture                 or      system        that
     facilitates          communications          in    a           network      or    telephonic
     environment,         including a        combination of                  any networks             or
     systems described above.                In various embodiments,                        network
10   connections 22 may include,                 but are not limited to,                         wired
     and/or       wireless      mediums     which        may          be    provisioned             with
     routers and firewalls.
             Matching       server    20    is     operable            to     receive       and       to
     communicate          information        to        terminal             10.           In        some
15   embodiments,         matching server 20 may comprise a                               plurality
     of   servers or other equipment,                   each performing different
     or the same functions in order to receive and communicate
     information          to    terminal     10.            Matching             server     20      may
     include        software       and/or        algorithms                 to     achieve           the
20   operations          for    processing,            communicating,                 delivering,
     gathering,           uploading,       maintaining,                    and/or         generally
     managing data,            as described herein.                    Alternatively,               such
     operations and techniques may be achieved by any suitable
     hardware,           component,        device,                  application            specific
25   integrated          circuit     (ASIC) ,         additional             software,           field
     programmable           gate     array        ( FPGA)       I      server,         processor,
     algorithm,            erasable          programmable                     ROM          ( EPROM)    I




     electrically         erasable     programmable                  ROM    (EEPROM) ,         or    any
     other suitable object that is operable to facilitate such
30   operations.
             In    some    embodiments,          user       14,        using       terminal          10,
     registers       with       matching     server             20.         Registration             may
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     include user 14 submitting information to matching server
     20     about       user       14    as       well     as      characteristics                   user       14    is
     seeking to be matched with.                                Such information may include
     a    user handle,              which may be a                      combination of                characters
 5   that        uniquely          identifies             user         14     to matching            server          20.
     In      various           embodiments,                 matching             server             20     may        be
     configured           to        collect             this           information;            for        example,
     matching           server       20      may be           configured             to     ask      user       14    to
     respond to a             series of questions.                            Matching server 20 may
10   be     configured             to       receive         the         information             submitted             by
     user        14    and create             a    profile             for    user     14      based on          that
     information,             storing the profile in memory 26.
                 As an example only,                    consider a             case where user 14 is
     interested               in        participating                    in     an        on-line           dating
15   scenario.            User 14             can access                the    Internet         via terminal
     10,     travel       to a          web site managed by matching server                                          20,
     and         begin    the       registration                   process.               As    part        of       the
     registration process,                         matching server 20 may ask user 14
     a     series        of    questions             which             identifies           characteristics
20   about        user    14.           Thus,        matching               server    20       may ask          about
     the height,              weight,         age,        location,            and ethnicity of user
     14.          It     may       also       ask       about           the     birthplace,               parents,
     eating            habits,          activities,                    and     goals           of        user        14.
     Matching            server         20        may      further             use     the          registration
25   process to discover what user 14 may be looking for in a
     match,           such as age,                weight,       height,         location,            ethnicity,
     diet,        education,            etc.            Further,             matching          server       2 O may
     ask user 14 to indicate how important certain factors are
     when        looking       for      a     match.           For          example,       matching         server
3o   20     may allow          the       user        to    indicate            which characteristics
     in      a     potential            match           are        a     necessity.                  In    another
     example,          matching server 20 may ask,                               "How important is i t
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     that your match does not smoke?"                                Matching server 20 may
     also      allow         the         user         to         indicate           that         certain
     characteristics              are    not    important            search criteria.                     For
     example,    when asking user 14 about what height or weight
 5   user 14 is seeking in a match,                           matching server 20 may be
     configured to receive                 "not important"                 as a      response.             In
     yet another example, matching server 20 may allow user 14
     to rate which factors are important on a numerical scale.
     For    example,        matching            server        20     may      ask      user         l4    the
lO   following:         "On a           scale of       1         lO,      how important              is    it
     that your match has the same education level as you?"                                                 In
     some embodiments,              matching server 20 may specify that any
     number      of     questions               or     requested             descriptions                 are
     necessary        before       registration              may     be      concluded.              As    an
15   example only,          matching server 20 may require that user 14
     communicate        the        sex     of    user        14      and      the      sex      user       14
     prefers      to     be        matched           with.           After        concluding              the
     registration        process,           matching             server      20     may       store       the
     responses of user l4 as a profile.                                This same process may
20   be     repeated        by      several           different           users        14,       causing
     matching server 20 to contain a plurality of profiles.
             FIGURE     lD        depicts       an     embodiment            in   which        matching
     server 20        has     a    database          26a which contains                   a    pool       30.
     Each entry in database                     26a has          a   pool     entity          30a along
25   with     information               concerning            that         entity.              In        one
     embodiment,        each pool entity 30a-e represents a                                    user and
     their profile.                In some embodiments,                    not      all       registered
     users     are     in     pool        30.         As      discussed           further           below,
     matching         server       20     may        use     a       selection         process            for
30   including        stored        profiles          in     pool      30.        As      depicted         in
     FIGURE     lD,    in     this       embodiment,             the      collection           of    users
     and profiles forms pool 30 through which matching server
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     20    may    perform            various          functions           such        as    searches              for
     matches.
             Matching            server          20    may         be     configured              to        search
     through      pool          30       and    present            matches       to        user       14.          In
 5   FIGURE       lE,          one        embodiment           of        this         presentation                 is
     depicted         as       occurring              through           display        12.             In        this
     embodiment,           a    result list 31 is presented to user 14.                                             A
     match       result         entity          31a     in     a        result        list       31     may        be
     associated with                 a    view button              33.         Using       interface              16,
lO   user 14 may request that matching server 20 provide more
     information about an entity in result list 31 by pressing
     the   associated view button                            33.         Matching          server        20       may
     then communicate                    to user 14           more       information about                       that
     entity by retrieving the information from memory 26.                                                          In
l5   FIGURE      lF,       one       embodiment          of        information             that        matching
     server 20 provides                    for user 14              is    shown.           Using display
     l2,     user       14       views          an     entity            from     result              list        31.
     Matching         server         20        may    also     provide           user        l4       with        the
     ability      to       contact         the        entity        through       a    contact              but ton
20   35.         In     one       embodiment,                when        contact           button           35     is
     utilized by user 14,                      matching server 20 may provide user
     l4    with       contact            information           of        the     entity           such       as     a
     telephone          number            or      an     e-mail           address;               in     another
     embodiment,           matching server 20 may provide user 14 with a
25   way    to    directly               contact       the     entity,          such        as     sending          a
     message or providing voice or video communication between
     user l4 and the entity.                          Even further,              matching server 20
     may be configured to allow user 14 to express a negative
     preference for the entity through dislike button 36.                                                          In
30   one embodiment,                 when,       for example,              dislike          button 36              is
     utilized by user                    14,    matching           server        20    may        remove          the
     entity      from          result       list       3l;     in       another       embodiment,                 the
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     entity may be               removed          from    pool       30    of    users        from which
     matches are identified.
             As    an       example          only,        consider          that           user     14        has
     submitted          a        search       request          to         matching           server           20.
 5   Matching server                  20 may       search through pool                      30,    identify
     results,       and communicate result list 31 to user 14 which
     would contain other users for whom matching server 20 had
     created       a     profile            and     who       were        identified              through       a
     search       and       selection            process.            Next,           user     14     may       be
lO   interested in learning more                          about Jane Doe,                    entity 3la;
     thus,    user 14 would click view button 33 associated with
     Jane Doe.           Matching server 20 would receive this request
     and respond by displaying Jane Doe's profile                                             (stored          in
     memory       26),       as        depicted          in    FIGURE        lF.            Next,        after
15   reading        the          profile,          user       14     may        be     interested              in
     contacting Jane Doe;                    hence,       user 14          would click contact
     button 35.             Matching server 20 would respond by allowing
     user    14     enter         a    message          that    matching             server        20    would
     then communicate to Jane Doe.
20           Matching server 20 may even further be configured to
     allow    user          14    to       store    a     match      result           entity;           in   one
     embodiment,            the system may be configured to allow user 14
     to utilize          favorite           button 34          that will             add the desired
     match        result         entity          into     another          list.             In     another
25   embodiment,            utilizing favorite button 34 will                                 remove          the
     associated match result entity from result list 31.
             As an example only,                    user 14 may decide that he would
     like to save Jane Doe's profile so that he can review it
     later.            User       14       may     click       favorite              button        34,        and
30   matching          server         20    may     respond          by     placing          Jane        Doe's
     profile       into a          separate         list.          Further,          matching           server
     20   may also           remove         Jane    Doe       from user's             14     result          list
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     3 l.     As    a     result,         user    14    may see another match result
     entity        populate          result       list           31.       This       is      beneficial
     because        it may focus               user 14        on evaluating new entities
     rather         than            reevaluating              previously-known                    entities
 5   because the entities still appear in result list 31.
             In     some           embodiments,          matching              server       20      may       be
     configured           to       generate      pool        30      by default          according            to
     various        characteristics               and        preferences            of    user      14    and
     other users of                 the system.              Matching server 20 may also
10   restrict entities from being included in pool 30 based on
     the status of the profile,                         or if user 14 has rejected or
     blocked an entity.                    Matching server 20 may also restrict
     entities from the pool that have blocked or rejected user
     14.          For     example,         matching              server        20    may      not       allow
15   profiles that are not in good standing to be included in
     pool 30.            In other embodiments,                       matching server 20 may be
     configured to                 generate pool            30       by first       choosing           seeds.
     Seeds include,                but are not limited to,                     profiles that user
     14     has    sent        a   message       to     or    profiles          that       user     14    has
20   expressed a           preference            for.        Each seed is                then compared
     to     other        entities         to    determine              which    entities          will        be
     included in pool 30.                      Any suitable method can be used to
     determine           which entities               are     included          in pool          30.      For
     example,            any       characteristics                   or   algorithms             described
25   herein may           form       the   basis        of       such a        determination.                 As
     another        example,          a    commonality                score     may      be      generated
     based on the comparison between each entity and the seed.
     In     some     embodiments,               this     commonality                score     can        be    a
     measure        of    how physically similar the users                                 are    to each
30   other.         This       score may be generated based on the number
     of     users       that       have    expressed             a    positive       preference           for
     both the seed and the entity being compared.                                             This score
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     may    also    be        generated            based      on        whether             the     seed    and
     entity have been viewed together in one session;                                               further,
     the    more    times           the      seed       and      entity           have       been        viewed
     together,      the       larger         the      commonality score.                          The    law of
 5   large       numbers        may         allow       for        a    vast           amount       of     such
     commonalities to be established over a few days.                                                   Testing
     has revealed that using such commonality scoring methods
     has yielded at least one physical match for 80% of users
     whose profile has been viewed at least once,                                                and between
lO   6     and    lOOO    physical               matches         for        60%        of    users        whose
     profile has been viewed at                            least once.                 Matching server
     20 may be further configured to allow entities that have
     a    commonality score above a certain threshold to become a
     part    of    pool        3 0.         Matching          server          20       may        further    be
l5   configured          to     update           pool      30.          In        some       embodiments,
     matching       server            20     may      do      so       by     creating             new     seed
     entities based on activity by user l4,                                    such as indicating
     a    preference          for     that       entity.           Further,            matching server
     20    may    then    compare               the   chosen           seed       entity          with    other
20   profiles       stored            in     matching          server             20     and       determine
     whether those profiles will be included in pool 30 using
     a     threshold      score            as     described            above.               At     least    one
     advantage realized by this embodiment is that user l4                                                   is
     presented with updated potential matches which increases
25   the     likelihood             of     user       14     finding          a        suitable          match.
     Another advantage present in certain embodiments is that
     these updated potential matches have a greater likelihood
     of compatibility with user 14 since they are chosen based
     on their commonality with entities user 14 has expressed
30   a preference for.
             As an example only,                      consider the case in which user
     14 has registered,                    requested a           search,          and received from
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     matching           server        20     results             list        31.       Then,          user      14
     decides       to        contact       Jane        Doe       and     presses       contact          button
     35.      Aside           from    providing             user        14    with     the       ability        to
     contact Jane Doe,                 matching server 20 will designate Jane
 5   Doe's    profile           as    a    seed.            Matching           server 20             will    then
     compare       Jane        Doe's       profile           to    other           profiles          stored     in
     memory    26        in     order       to    identify              other       users       who     may     be
     similar to Jane Doe and thus be a good match for user 14.
     In     this        example,          matching           server           20     will       generate         a
lO   commonality              score        for     each           of     these        comparisons             and
     compare        these           scores       to     a        preset        threshold.               If     the
     commonality              score        is     lower           than        the     threshold,             that
     profile       will        not    be added to pool                       30.      However,          if     the
     commonality score is higher than the threshold,                                                  matching
15   server        20        will    add        this    profile              to     pool       30.       As     an
     example,       further assume that the seed,                                  Jane Doe,          is being
     compared           to    another       entity,              Susan Smith.                  Based on        the
     fact    that        both        Susan       and        Jane        have       three        users        (Tom,
     Dick,    and Harry)             who have expressed a positive preference
20   for     their           profiles,           matching              server        20        generates         a
     commonality              score        of     100            for     the        comparison.                 In
     contrast,           matching           server           20        generated           a    commonality
     score    of        50     for    the       comparison              between        the       seed        (Jane
     Doe)     and        yet        another       entity,              Lucy       Goosey.            This     was
25   because        only        one       user        (Bob)       had        indicated           a    positive
     preference              toward       both     Lucy          and     Jane.         Continuing              the
     example,           matching           server           20     is        using        a     commonality
     threshold score of 70,                      which results in including Susan's
     profile        (whose           commonality             score           was    greater          than      the
30   threshold           score)       in pool          30        and excluding Lucy's                    (whose
     commonality              score       was     less           than    the        threshold          score) .
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     Thus,    user       14       gets    the   benefit            of    having more             entities
     identified that may be good matches.
             In    some           embodiments,          matching              server       20     may        be
     configured          to        include      behavioral               scales.               These       may
 5   include multi-item scales for materialism and gender-role
     traditionalism.                Such scales may provide the advantage of
     improved       matching             through       deeper           appreciation             for        the
     personality of entities in the system.
             In    some           embodiments,          matching              server       20     may        be
10   configured       to          analyze    profile          text           for    categories.              It
     may     search       for        a     number        of        text        strings          and        then
     associate the profile with any number of categories.                                                    As
     an example only,                matching server 20 may add any profile
     to    the     Cat        category       whose          text        contains          any        of     the
15   following strings:


                     "catu "catsu "cat." "cats.n                              "cat,"     "cats,"


     Matching       server          20    may     be    configured                 to   make     it       more
20   likely       that        a    profile        will        be        in    a     result       list        if
     categories           associated              with         the           profile           are         also
     categories found in the user's profile who submitted the
     search request.
             Matching server 20 may be configured to analyze one
25   or more portions of the text of an entity's profile and
     generate a       readability score that may be used in various
     ways,    such as in the process of searching for matches for
     user    14.         In       some    embodiments,             matching             server       20     may
     analyze       factors          such    as,    but        not        limited         to:         average
30   number of words per sentence,                          total number of words with
     greater       than three            syllables,           and       total number of                   words
     in the profile.                 Matching server 20 may also concatenate
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     all      of    the        collected           responses             with     a     single        space
     between        them.             It     may        further          break        the     text     into
     sentences,          words,       and syllables.                     From these statistics,
     matching server 20 may also be                                 configured to generate a
 5   readability              score        by,     in     one        embodiment,             taking     the
     average        of    the        Flesch        Kincaid          Reading       Ease        test,     the
     Flesch        Kincaid          Grade        Level        test,       and    the        Gunning     Fox
     score.              Other            embodiments              may     utilize           any      other
     combination              of     these       or     other         tests       to        determine     a
10   readability score.                     In some embodiments,                  analyses may be
     used to determine the IQ of an entity,                                     the grade level of
     the writing,             or how nervous the entity generally is.                                   An
     advantage           of        this     embodiment             may    be     that        the     system
     provides            user        14      with        a         metric        for         determining
15   approximate intelligence of other users.                                         The readability
     score may be used,                    for    example,           in the matching process
     to identify potential matches.
               As an example only,                    the Flesch Kincaid Reading Ease
     score may be generated by first                                 computing the             following
20   intermediate score:


                206.835 -            (1.015 *      [Average Words per Sentence])
                         (84.6 *          [Average Syllables per Word])


25   Then,      the Flesch Kincaid Reading Ease score is determined
     by using the following table:


     Intermediate Score Condition                                 Flesh Kincaid Reading Ease
                                                                                 Score
     <   100                                                  4

     <   91                                                   5
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                                                                                                            ~l
     <    81                                               6

     <    71                                               7                                                    I



     <    66                                               8

     <    61                                               9

     <    51                                            10                                                      I

     <    31                                            13

     <    0                                             14
     Else                                                  15


     The Flesch Kincaid Grade Level may be computed according
     to the following:


 5       (0.39   * [Average Words Per Sentence])                              +    (11.8     * [Average
                              Syllables Per Word])                      - 15.59


     The Gunning Fox score may be computed according to the
     following:
10
          ([Average Words Per Sentence]                        +    ( ([Number Of Words With

              More Than 3 Syllables]              /    [Number of Words In Entire
                                        Text])    + 100))           *   0.4


15   As       indicated,      any suitable tests may be utilized in any
     suitable manner to determine a readability score.
               In     some    embodiments,             matching               server         20     may    be
     configured         to    allow a        user       to         interact           with   the     result
     list        of    another          user.          Matching            server            20    may     be
20   configured         to    allow a        user       to         express        a    preference         for
     entities         within        a    result       list         of   another         user,       and    to
     indicate         to the other user of                      this preference.                   Thus,    a
     user may be             able       to get    advice            from      a    friend         regarding
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     what other users may constitute good matches for the user
     and thus be able to find a better match.
            As    an example                 only,      consider          FIGURES            lA and FIGURE
     2.     Two        users           14,     Harry         and     Sally,         are       connected          to
 5   matching server 20 via terminals 10.                                      Display 12a is used
     by Harry while                display           12b      is    used by Sally.                    Matching
     server 20 allows Sally to view Harry's result list 31 on
     her    terminal              in     display          12b.           By     pressing             recommend
     button      37,        Sally        may      indicate          a    preference             for    one       or
10   more   of     the        entities            in    result          list       31.        Assume       Sally
     presses       recommend                 button      37        associated            with       Jane     Loe.
     After doing so,                   matching server 20 will notify Harry of
     Sally's       preference.                    On     Harry's         display             12a,     matching
     server        20        will            cause       notification                   39     to      appear,
15   associating             it        with       Jane       Loe.         Notification                39     will
     indicate to Harry that Sally has                                   recommended Jane Loe as
     a    potential          match.               Harry       may       find       Sally's          preference
     helpful       in       determining              which         entities         he       should     pursue
     further       if,       for        example,         he        believes         Sally       understands
20   the type of person he is looking for.
            In         one       embodiment,               matching            server           20     may       be
     configured          to       analyze         the      profiles           of    both user           14      and
     the entities in pool 30 for keywords.                                         Matching server 20
     may be configured to search through the profile of user
25   14 for keywords that relate to things such as activities
     and interests.                    Matching server 20 may generate a                                   score
     for each entity in pool 30 based on a                                         comparison between
     the    list       of     keywords            found       in user's             14       profile       and    a
     similarly-generated                      list      of      keywords           of    each        entity      in
30   pool    30.            In     one        embodiment,            this      is        accomplished            by
     storing       a    list       of        words      in memory             26,       and using          it    to
     identify          keywords              in   the        searched          profiles.              In     some
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     embodiments,            identified keywords may be used as                                      a    means
     of    weighting          various           scores.               As    an     example          only,        a
     profile that contains the word "God" may be weighted much
     differently            than    a     profile              which       has     merely          indicated
 5   that their religious preference is Christian.                                             In various
     embodiments,           this may provide an advantage to user 14 in
     that    user 14         is able        to determine how similar he/ she is
     with       a    potential            match.               In     addition,              the     keyword
     analysis         may    be    used         by      the     system       when       searching              and
lO   identifying matches for a user.
            As       an example           only,       consider             two    registered users,
     Harry      and    Sally,        both        of     whom         have    profiles              stored       in
     matching         server       2 0.         Matching             server       20    then        analyzes
     each       of    these       profiles           by    comparing              it    to     a    list        of
15   predefined keywords.                   Matching server 20                         then associates
     each    word      that        matched           the       list    of    keywords              with    each
     profile.         Now assume that Harry performs a search.                                            While
     fulfilling         Harry's           query,          matching          server        20       evaluates
     Sally's profile for inclusion in Harry's result list 31.
20   This    evaluation includes                      comparing            the     list      of     keywords
     found in Harry's profile to the keywords found in Sally's
     profile.          The more keywords that Harry and Sally have in
     common,         the more       likely it will be                       that matching server
     20    will      include       Sally's           profile          in    Harry's          result        list
25   31.
             In      some     embodiments,                 matching              server       20     may       be
     configured         to    impute        a     level         of    physical          attractiveness
     to    an       entity    in     pool        3 0.          Matching           server       20        may    be
     configured to monitor how frequent                                    an entity in pool                    30
30   has been viewed as well as how many times that entity has
     been part of a               result        list in order to impute the level
     of     physical         attractiveness.                         Matching          server        20        may
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     further be configured to generate a                                     score based on this
     data.        Further,              in some    embodiments,                  matching server 20
     may impute physical attractiveness to an entity based on
     the     imputed              physical        attractiveness                   scores        of        other
 5   entities.           Matching server 20                   may compute an average of
     the   imputed physical                  attractiveness                  scores       of   the         other
     entities       weighted by              the    commonality                  score    between each
     of the other entities and the present entity.                                               Empirical
     data indicates that people are more likely to match with
10   people        of        similar         attractiveness.                           Thus,     in         many
     embodiments,             a    user may obtain an advantage in that they
     are     able       to    be        presented       with       potential             matches           that,
     according          to        one    measurement,             are    as       attractive          as     the
     user.
15           As     an       example        only,        consider            a     registered              user,
     Sally,       whose profile was created by matching server 20 in
     January.                Since        that     time,          matching              server        20     has
     recorded the number of times Sally's profile has appeared
     in    any      user's          result        list       31;        assume          that     this        has
20   occurred 10 times.                    Further,          matching server 20 has also
     recorded       the           number    of    times       a    user          has    viewed        Sally's
     profile        by        clicking           view     button             33     associated              with
     Sally's profile;                   assume     that      this        has      happened 5           times.
     In    this     manner,              matching       server          20        has    constructed           a
25   ratio that represents the imputed physical attractiveness
     of Sally's profile.                    Still further,                assume that Harry,                   a
     registered user,                   now submits a query.                      Matching server 20
     has     evaluated             the    imputed physical                attractiveness                   ratio
     of Harry's profile.                    When evaluating Sally's profile for
30   inclusion          in result           list    31       returned to Harry,                   matching
     server         20             will      compare               the            imputed         physical
     attractiveness                of     Sally's       profile          and       Harry's        profile.
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     The    more       similar           the        ratios          associated             with    Harry          and
     Sally s profiles are to each other,
            1
                                                                             the more likely it is
     that Sally's profile will be selected by matching server
     20 to be in Harry's result list 31.                                          In another example,
 5   assume that Sally's profile has not been registered long
     enough           to     generate               a         meaningful              imputed           physical
     attractiveness                ratio.                 Matching           server          20        may       then
     generate          an    imputed physical                       attractiveness             score         based
     on entities that Sally does have commonality scores with.
10   This computed average may be weighted by the strength of
     the commonality score between Sally and each entity with
     whom       she        has     a         commonality              score.                Continuing            the
     example,         assume that Sally has                           a    commonality score of                     5
     with       Lucy       and    10         with    Julia.               When    matching          server         20
15   computes the Sally's average,                                  it will give twice as much
     weight       to       Julia's           imputed physical                    attractiveness              score
     than to Lucy's.
            In        some        embodiments             1     matching          server          20     may       be
     configured             to    make         an       entity        in     result          list       31       more
20   appealing to user 14 by pointing out coincidences in the
     profile data that give user 14 a                                      sense of fate with the
     entity.           In        one    embodiment,                 matching          server       20       may    be
     configured             to    search        for           similar       initials,          birthplaces,
     birth dates,                birth month,                  birth year,            university        1    first
25   names,       last       names       1     user           handles,      parental           occupations          1



     and keywords to identify users who may give another user
     a    sense of          fate.            In other embodiments,                         matching server
     20    may use          the        fate     characteristics                  as    a     metric         in    the
     matching process.
30          As         an        example            only,           assume        that        Harry          is     a
     registered             user        who         has        performed          a    search.               After
     matching server 20                       returns           a   result       list   1    Harry chooses
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     to    learn more          about        one    of       the    entities         in     the    result
     list and clicks view button 33.                              Consider FIGURE 3,                 which
     is only an example of information that matching server 20
     may return          to Harry after clicking view                              button      33.        In
 5   Harry's       display 12,            matching          server          20    presents       certain
     details       about        the       profile.                In    particular,            matching
     server 20 presents to Harry a                           fate notification 32 which
     points       out    specific         similarities             between          the    profile        of
     the      entity           and        Harry's           profile.                Reading            fate
10   notification 32 gives Harry a                           sense of familiarity which
     enhances his appreciation for the profile.
             In another example,                  fate characteristics may be used
     to    decide       whether       a     profile         in     pool      30    is     included        in
     user's       14     result        list       31.         Assume             that     Harry      is    a
15   registered          user     who       has    submitted            a    matching          query      to
     matching server 20.                    While determining which entities to
     include       in      Harry's          result          list,        matching          server         20
     considers two profiles:                      Sally and Roxy.                  Sally and Harry
     both have the same birth date,                          initials,            and have parents
20   that work in the same profession.                                  In contrast,           Roxy and
     Harry only share the                   same birth place.                      Matching server
     20 may be configured to award more points                                          to Sally than
     to Roxy based on these comparisons,                                making it more likely
     that    Sally's profile will be                        included in Harry's                   result
25   list.
             In    some        embodiments,             matching             server       20     may      be
     configured to evaluate the likelihood of contact between
     user 14 and an entity in pool 30.                                 Matching server 20 may
     be configured to compare demographic data between user 14
30   and    pool        entity       30a.         In    another         embodiment,            matching
     server       20     may     be    configured            to        weigh       the    demographic
     similarities and differences based on the sex of user 14.
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     The demographic data may include,                              but is not limited to,
     age,    education,         ethnicity,             income, and location.
             As an example only,                  assume that Harry and Sally are
     registered users who have profiles in matching server 20.
 5   Harry has          submitted a          search request             to matching server
     20.      While       fulfilling         this        request,       matching              server    20
     evaluates          Sally's       profile          since    her     profile          is     in    pool
     30.     As part of the evaluation,                         matching server 20 looks
     at the differences between Harry and Sally's stated age,
10   income,       education,          ethnicity,              and     location.               In     this
     example,          Harry     is     10       years        older     than       Sally,            makes
     $l0,000       more       per year,          and     has    a    Master's      degree            while
     Sally        has     a     bachelor's              degree.             Even     with            these
     disparities,         matching server 20 will give Sally s profile                    1




15   a     high    score       which    makes           it    more     likely      that         Sally's
     profile will appear in Harry's result list.                                     However,           if
     it     was    Sally        who    submitted              the    search,       and         matching
     server       20    was     evaluating             Harry's        profile,       a        different
     score is possible.                So,       if it were Sally who was 10 years
20   older,       made    $10, 000      more           per    year,     and    had       a     Master's
     degree       while       Harry     had        a     Bachelor's          degree,           matching
     server       20    would     give       a     low       score     to     Harry's          profile,
     making       it    less     likely      that        his    profile       would           appear    in
     Sally's           result     list.                Matching        server        20         may     be
25   configured this way because empirical data has shown that
     these    demographic             differences             do not have          an equivalent
     effect       on     the     choices           men       and     women     make           regarding
     matches.
             In    another        embodiment,                matching       server       20     may     be
30   configured to compare                   the       locations of user 14 and pool
     entity 30a          in     increments         of       ten miles.          In yet          another
     embodiment,         matching server 20 may be configured to score
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     the location comparison in light of other factors;                                                as an
     example,       matching system 20 may be configured to return a
     score    consistent              with       a    10    mile       difference             in    location
     even though there is a 50 mile difference between user 14
 5   and pool entity 30a if user 14 and pool entity 30a have
     the     same        income,          education,             and     age.            An        advantage
     realized            in     several          embodiments             is           that     it     better
     approximates              how    a     user       evaluates          entities.                 Entities
     that live further away are generally less appealing to a
10   user;    but,           users    may       still       be    interested             if    the    entity
     matches their preferences in other categories.
             As     an        example          only,       consider          a        registered       user,
     Harry,       who        submits       a    search          request.              While    fulfilling
     this request,             matching server 20 examines Sally's profile
15   in pool        3 0,      and determines               that    the       stated locations of
     Harry's            and     Sally's              profiles          are       13      miles        apart.
     Matching server 20                   will        give Sally's profile a                        score as
     if     the         distance          between           them       were           only     10     miles.
     However,           in     yet     another          example,         Sally's              profile       may
20   indicate           that    she    lives          50 miles         away from Harry.                 Yet,
     matching server 20                   also notes             that both Harry and Sally
     make    $100,000           per year,             have Master's degrees,                        and that
     Harry     and           Sally    are       one     year       apart         in     age        (Harry    is
     older)              Given       these       similarities,               matching           server       20
25   will    give        a    score       to Sally's profile                     that    is consistent
     with a        20      mile      difference            in    location even                though     they
     are    actually           50 miles          apart.           In    this          manner,       matching
     server        20    takes        into      account          empirical            data     that     shows
     that people searching for matches who indicate that they
30   want     to    see        matches          who    live       close          to    them     are    still
     willing       to pursue a                 potential match that                     lives       far away
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     if    the potential match fits                      very closely with the other
     search criteria.
             In    another            embodiment,           matching       server           20      may    be
     configured to evaluate the age difference between user 14
 5   and    pool       entity          30a    using     ranges      as     well       as     a      sliding
     scale.       By way of example only,                     matching server 20 may be
     configured             to    assign      a    high value        to        an    age     difference
     between 0 and -5,                 while assigning a             lower value to an age
     difference between +2 and 0.                            An even lower value may be
10   assigned          to    an age          difference       between          -6    and     - 8.        Even
     lower values                would be assigned             incrementally as                   the     age
     difference             increases          outside       of     the        ranges        discussed.
     The higher the assigned value is,                            the more likely it will
     be that pool entity 30a will be                              included in result                     list
15   3l.     Yet another embodiment may apply this combination of
     ranges       and a          sliding scale but use different values                                   and
     ranges depending on the sex of user 14.
             As an example only,                    consider a        situation in which a
     registered              user,         Harry,       requests           a        search          to     be
20   performed.                  While        fulfilling          this     request,              matching
     server       20    evaluates             Sally's       profile,       which was              in pool
     30.      As        part          of     the    evaluation,           matching           server        20
     compares the ages of Harry and Sally,                                and determines that
     Harry    is       two years             older than Sally i            this       determination
25   leads    to matching                  server 20        assigning,          in this           example,
     50    points       to       Sally's          profile.        Matching           server         20    may
     also be configured to assign 50 points to Sally's profile
     had she been five                     years younger than Harry;                       but,     if    she
     had    been        up       to    two     years        older    than           Harry,        matching
30   server 20 may have been configured to assign 40 points to
     her     profile.                  Matching         server       20         may        be       further
     configured to assign 30 points to Sally's profile if she
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     was    6 to 8 years younger than Harry.                                           However,          if Sally
     were       more           than        8    years        younger         than        Harry,          matching
     server          20        may        be    configured          to       further           decrease             the
     number of points assigned to her profile:                                                    if she was          9

 5   years          younger,              then    25     points;           if      she        was        10     years
     younger,             20    points;           if     she      was        ll    years           younger,          15
     points;          etc.                The     more        points          assigned             to         Sally's
     profile,             the    more          likely        it   is       that         her       profile        will
     appear in Harry's result list.                                    Thus,           matching server 20
10   may     be       configured                 to     assign         a      score           based       on        age
     difference            using           a    combination of               ranges           and    a        sliding
     scale.
             In      another              example,       matching            server           20    may        assign
     scores differently if it was Sally who was searching and
15   if    it was Harry's profile that was being evaluated.                                                          In
     this       example,             matching          server       20       may        be    configured             to
     assign Harry's profile 50 points if he were between 1 and
     5    years      older than her.                     If he were                6    to    8    years        older
     than her,            matching server 20 may assign 45 points.                                              If he
20   were greater than 8 years older than her,                                               matching server
     20 may assign points in the following fashion:                                                  if he was
     9    years older,                40 points would be assigned;                                if he was 10
     years older,               35        points would be assigned;                          etc.        However,
     if    he       was    up        to    two    years       younger         than Sally,                matching
25   server         20     may       assign       50     points         to    his        profile.              If    he
     were more than two years younger,                                     matching server 20 may
     a~sign         less points on a                    sliding scale:                   45 points if he
     were       3    years           younger,           40     points         if        he    were        4     years
     younger,             etc.             The    more         points         assigned              to    Harry's
30   profile,         the more like it is that his profile will appear
     in    Sally's             result          list.         This       example          illustrates                how
     matching server 20 may be configured to                                             take       the       sex of
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     user        14        into         account           when         scoring        based        on     age
     differences.
             In       various          embodiments,               matching         server    20    may     be
     configured to evaluate the attractiveness of an entity in
 5   pool    30 through collected feedback from other users.                                               In
     one    embodiment,              matching server 20 may present an entity
     to user 14,             prompting user 14                    to rate         the attractiveness
     of    the    entity on a                scale        from     1      9.        This    range       gives
     the    advantage             of    having a          midpoint.               Matching server          20
1O   may further             be      configured           to      collect         such    responses       and
     store       them;          in     one    embodiment,               matching         server     20    may
     store       the       data      in memory            26,     using       a    structure       such as
     database              26b.        Matching            server         20       may      further        be
     configured            to     compute         the     average        of       such    responses       for
15   the    entity,          and       store       this      number       as      well.      In various
     embodiments,            these values may be used in order to help in
     the    matching              process.              Empirical          data          indicates       that
     people       are       more        likely       to      match      with       people    of    similar
     attractiveness.                       Thus,        in      various           embodiments,          users
20   whose       attractiveness                rating             are    similar          will    be     more
     likely to appear in each other's result list.                                            Further,      a
     user may          indicate            that    they only want                  profiles       in    their
     result list whose average attractiveness rating is higher
     than an indicated threshold.
25           As       an    example          only,        assume        registered         user,       Harry,
     uses        terminal            10,     which           in    this        example       is    Harry's
     personal          computer,             and        establishes               communication          with
     matching server 20.                       In this example,                   this    communication
     occurs by Harry using a                         Web browser to access a                      Web page
30   controlled              by        matching           server         20.         Sometime           after
     visiting          the        Web      page,     matching            server      2O     may    present
     Harry with an option to rate                                 the physical attractiveness
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     of other users registered with matching server 20.                                            Using
     display 12          and interface 16,                 Harry may view profiles of
     registered users                and    rank    them        on a     scale        of    1      9   by
     entering the values using interface 16;                                     in this example,
 5   interface 16 comprises a mouse and/or a                                     keyboard.         After
     submitting this rating,                  matching server 20 will associate
     it   with     the           profile    and    store        it.      Matching           server     20
     will    also       allow        other    users        to     rate          profiles,        thereby
     collecting              a     plurality         of         rankings           for      profiles.
10   Matching server 20 may use this data when trying to find
     matches for users.                    One example of this is that matching
     server       20    may        allow    user    14     to    specify          that      he/she     is
     searching for profiles which have an average rating of 6
     or above.         In turn,       matching server 20 may populate user's
15   14   result        list        from    the    pool     only        with       profiles        whose
     average rating is at 6 or above.                                Another example of how
     matching server 20 may use                          this    data       involves making            it
     more likely that an entity will appear in a user's result
     list    if    the       entity and that              user have a             similar average
20   attractiveness                rating.         So,     if    a    user        has      an    average
     rating of          6,       then an entity with an average rating of 5
     may be more                 likely to appear          in     the       user's       result     list
     than an entity with an average rating of 2.
             In        another        example,            assume        that          Harry       is    a
25   registered          user        and     has     requested              a    search.           While
     fulfilling          this        request,       matching           server         20    evaluates
     Sally's       profile.            As    part    of     this       evaluation,              matching
     server 20 notices that Sally's profile contains feedback
     from    other           users    ranking       the     attractiveness                 of    Sally's
30   profile.           Matching server 20,                 in       this       example,        averages
     that data; Sally's profile average is 6.                                     Matching server
     20     may    then           examine     Harry's           profile          to     determine       a
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     similar average.                   If Harry's profile has an average close
     to 6,       it will be more likely that matching server 20 will
     include       Sally's           profile        in     Harry's           result           list.         If
     Harry's profile average is lower than 6,                                      i t will be less
 5   likely that             Sally's profile will                     be    included in Harry's
     result list.             If Harry's profile average is greater than
     6,   it will be even less likely that Sally's profile will
     be   included           in    Harry's         result       list.             The       more     Harry' s
     profile average               deviates         from       that of           Sally's,           the   less
10   likely       it    will       be      that    matching       server           20       will present
     Sally's profile in Harry's result list.
             In    FIGURE          4,      one    embodiment           is        disclosed           wherein
     matching          server       2 0,    with    pool       3 0,        may    be    configured          to
     interact with another platform,                            such as social networking
15   platform 50,            containing a           set 52 of users.                        Users 14 are
     communicatively coupled to matching server 20 and social
     networking platform 50.                        Matching server                    20    may further
     be     configured             to      provide       users         of        social        networking
     platform 50 a            service by which they may search for users
20   within set 52 or within pool 30 using the algorithms and
     processing of matching server 20.                                Matching server 20 may
     even    further          be        configured        to    allow            users       of     matching
     server 20 to search through pool 30 and set 52.                                                Matching
     server 20 may be configured to parse the profiles of the
25   entities           in        set      52,     collecting               data         and        applying
     algorithms.
             In    another           embodiment,           matching              server        20    may    be
     configured          to    allow users           of     social          networking platform
     50     to    interact           with        matching        server           20        using     social
30   networking          platform            50.          This         level        of        integration
     provides          the advantage of users                    not having to                    learn and
     sign up for a different platform.
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             Social          networking             platform         5 0,      in      one      embodiment,
     may    be     a        service       which       stores         profiles           of      its     users.
     This service may be further configured to provide access
     to     the        stored          profiles.               In    one         embodiment,            social
 5   networking platform 50                         may also allow other services to
     interact              with       users    of     social             networking          platform         50
     through social networking platform 50.
             In        one        embodiment,             matching             server        20       may     be
     configured              to       collect       requests             from       users        of     social
10   networking platform 50 and perform a                                      search through pool
     30     and     set          52.         Matching          server          20      may      further       be
     configured             to    present          the     results          of      this     search         from
     within social networking platform 50.                                       Matching server 20
     may     further             be    configured          to       present          entities          in    the
15   search        result         from       pool    30    as       if    they were             entities      of
     set     52;       in     one       embodiment,            matching             server       2O    may    be
     configured to generate profiles of entities from pool 30
     into set 52.                 Thus,       users of          social         networking platform
     50    may view              all    of    the     entities            in     the    search         result,
20   regardless             of    their       source       (either          from       pool      30    or    set
     52),    within the environment of social networking platform
     50.
             As an example only,                     consider two users:                         Harry,      for
     whom matching server 20 has created a profile,                                              and Sally,
25   who    has        a    profile          stored       in    social         networking             platform
     50.     From within social networking platform 50,                                               matching
     server        20       presents          to    Sally       the       ability          to     perform      a
     search which Sally uses.                            The results of this search are
     presented to Sally within social networking platform 50.
30   In this example,                  Harry's profile is displayed to Sally as
     a     search          result       along       with       other       entities          from      set    52
     though Harry's profile was from pool 30.                                          In this example,
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     matching          server       20     uses       the       algorithms             discussed         herein
     and    searches           through          the    profiles            stored       in pool         30    and
     set    52.         In     order      to     display         Harry's          profile          to    Sally,
     matching server 20                   creates a             profile          in set      52 using         the
 5   data stored in Harry's profile in pool 30.                                           Sally is then
     able    to        interact          with        this       newly        created         profile         from
     within       social        networking             platform            50    in    the    same       manner
     as she is other entities in set 52.
            In      another           embodiment,               matching          server          20    may    be
lO   configured           to    allow          its     users          to     interact         with       social
     networking           platform          50       through          matching          server         20.     In
     one    embodiment,              matching          server          20       supplements            pool    30
     with    set        52.      In       yet    another             embodiment,          entities           from
     set 52 appear as entities of pool 30 to the user in their
15   list     of        search        results.              In       one        embodiment,            matching
     server       20     may    be     configured               to    generate          profiles         within
     pool     30        from     entities             of    set        52i       the     system         may    be
     configured           to     do       so     through             capabilities            provided          by
     social        networking             platform          50,        such       as    an    application
20   programming interface.
            As      an        example       only,          consider             two     users:           Harry,
     whose profile is stored in matching server 20,                                               and Sally,
     whose profile is stored in social networking platform 50.
     Harry     submits          a     search          request          to       matching          server      20.
25   Matching           server       20    may        return         result       list       31    to    Harry,
     which,        in    this       example,          contains             an    entity      representing
     Sally's profile.                    Matching server                   20    may accomplish this
     by    creating           profiles          in     pool      30     that       correspond           to    the
     profiles          found     in set 52.                Once       these profiles have been
30   imported into pool 30,                      matching server 20 may then search
     through        pool        30.        While           doing       so,       matching          server      20
     applies           the     algorithms              and           scores       discussed             herein.
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     Thus,        in    this           example,             matching           server            20     has       been
     configured to both search and apply scoring algorithms to
     entities in pool 30 and set 52.                                     Further,              in one example,
     Harry is not able to distinguish that Sally's profile was
 5   originally             stored           in        social           networking              platform           50.
     Rather,        matching            server             20    presents           Sally's           profile       in
     the     same      manner           as       other           profiles          stored        in     pool       3 o.
     Thus,     in this example,                       Harry may use favorite button 34,
     view     button            33,    and       contact              button       35     when        interacting
10   with      Sally's           profile              in    the        same        manner        as     described
     above.
              One advantage present in various embodiments is that
     a    user has          a    wider pool                 of    entities           to       search through.
     Another advantage is that a user does not have to sign up
15   with     several            platforms             to        search       through           the     users       on
     those platforms.
              FIGURE 5           is a        flowchart                illustrating one embodiment
     of     how    result             list       31    may       be     generated.                At    step       62,
     matching server 20 generates pool 30,                                          as described above.
20   At     step 64,            matching server 20 applies                                a    filter to pool
     3 0,    removing            certain          entities;              in        various        embodiments,
     this     filter            is    based on user's                    14        own    sex and           the    sex
     user 14 desires to be matched with.                                           At step 66, matching
     server 20          may be configured to apply algorithms                                               to pool
25   30     that       will          generate          a        plurality          of     scores        for       each
     entity in pool                   30.        In one embodiment,-                      these algorithms
     may     include            analyzing             the        text    of        the        profiles      of     the
     entities          in       pool        30        to    generate           a     readability              score,
     determining            how attractive                       an    entity        of       pool     30    is,    or
3o   measuring how likely it                               is    that user 14                 will     contact an
     entity of pool 30.                      At step 68,                matching server 20 may be
     configured to collect all of the scores from step 66;                                                          in
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      one embodiment,                     matching       server    20 may use             database       26b
      to     store          all       of    these       scores.         At        step    70,    matching
      server           20     may          be        configured        to     apply       an     ordering
      algorithm              which         will        determine            the    order        in   which
 5    entities in result list 31 are presented to user 14.                                                In
      one        embodiment,               this       ordering     algorithm             is     based,    in
      part,       on the scoring algorithms applied at step 66.                                          The
      ordering              algorithm            assigns      points         to    each       entity     and
      orders       them        based            on    these   values,         constructing           result
10        list   31.         An       embodiment         of     this    ordering          algorithm       is
          summarized in the following table:
                                      .                                                                   --
      Condition.                                          ·;·' Number of Points for
                       ·.         .                            Order:i,l"lg .      ··.··
      Readability score 1 point     +33554432
      higher than user
      Match result entity has       +16777216
      expressed a preference for
      the user
      Match result entity has been +8388608
      recommended by a friend of
      the user
      User has viewed the details   +2097152
      of match result entity                                                                               ·-
      Match result entity has       +1048576
      commonality with an entity
                                  I
      user has expressed a
      preference for
      Both have the same ambition
     ~·
                                    +128
      Both have the same beliefs    +16384                                                                 ··-

      Same answer for Build         +64
      Same answer for Car           +l
      Both have the same diet       +4
      Both have the same            +131072
      preference for drinking
      alcohol
      Same answer for Ethnicity     +1024
      Same answer for Fear          +256
      Same answer for Hair          +2
      Same answer for Number of     +524288
      children                                                                                                -
      Same answer for morning
     ~.
                                    +32                                                                    ··-
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     Same answer        for    "must have"    +32768
     Same answer
     Same answer
     Same answer
     Same answer
                        for
                        for
                        for
                        for
                               "night out"
                               "pets"
                               politics
                                              +16
                                              +65536
                                              +8192
                               relationship '+O
                                                                                                           J    i

     status
     Same answer        for "romance"                      +512
     Same answer        for smoking                        +262144
     preferences
     Same answer        for sports                         +8
     interests
     Same answer        for "system"                       +4096                                          ---



             As   an     example       only,          consider             a    registered             user,
     Harry,       who        desires        to        perform          a        search.            Before
     processing the request,                 matching server 20 may ask Harry
 5   what sex he is and what sex does he desire to be matched
     with;    in this         example,       Harry responds                    that he          is a    male
     seeking      a    female.         After          doing      so,       matching             server    20
     will generate pool 30 as described above.                                        Next,      matching
     server 20 will apply a                  filter to remove certain entities
10   from pool 30.            In this example,                  all males will be removed
     from pool         30 since Harry is seeking a                              female.          Further,
     all females seeking females will be removed from pool 30
     since Harry is a male.                  In other examples,                       other entities
     that are removed from pool 30 include entities that Harry
15   has     expressed         a     negative           preference                  for     before,       or
     entities         that    have     expressed            a    negative             preference         for
     Harry.       After pool 30 has been filtered,                                  matching server
     20    applies       a     variety           of     scoring            algorithms             to     the
     entities         remaining        in    pool          30.     These              algorithms         may
2o   account      for    various       comparisons               such          as     those      based    on
     readability,            likelihood          to    contact,            fate,          and    keywords
     described above.                Matching server               20          will       then tabulate
     these scores,            storing them,            in this example,                     in database
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     26b.     Matching server 20                    will    then determine what                   order
     these     entities          are     presented          to    Harry        by     applying         an
     ordering algorithm.                 Here,       matching server 20 assigns one
     ordering score to each entity by examining the results of
 5   the scoring algorithms.                     After doing so,               matching server
     will present result list 31 to Harry,                               where the order of
     the entities that                appear in the result                 list       is based on
     the ordering algorithm.                        In this example,            i t is possible
     for    result        list    3l     to     change.          Consider        another          user,
lO   Sally,     who       appears        in     Harry's         result     list.           If     Harry
     decides to add her into a separate list by using favorite
     button 34,       Sally will be removed from result list 31                                        (as
     described above) .                However,       Sally will also become a seed
     entity    from which entities may be                          added       to pool           30    (as
15   described above) .                 Hence,       matching server 20 will update
     the      pool,        apply         the         filters,          apply        the      scoring
     algorithms,           tabulate           the     results,          apply       the     ordering
     algorithm,           and     update         result         list     31.          As     another
     example,        an    entity        may     update         their    profile          which        can
20   change     result           list     31.         For       example,        assume       Sally's
     profile     had an ordering algorithm score                               that      placed her
     within the top 20 entities in result list 31.                                        Sally then
     changes her profile which results in keywords                                        that match
     Harry's     profile          being        added       to    her    profile.            Matching
25   server     20    will       then update           her      scoring     algorithms.                 In
     this example,          the change in Sally's profile and resulting
     increase         in        keyword         matches          with      Harry's           profile
     significantly              increased           her     score.             This        was        then
     reflected        in        the     ordering           algorithm       as       it     was        also
30   applied     to        the    updated           profile.            Afterwards,          Sally's
     profile is now placed within the top 5 entities in result
     list 31.
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             In    some           embodiments,                matching       server         20    may     be
     configured to receive required characteristics                                          from user
     14 regarding a match.                      User 14 may be allowed to specify
     such         restrictions                  based            upon          any         number         of
 5   characteristics,               including             those       described           herein.        For
     example,      matching server 20 may allow user 14                                     to specify
     that entities that indicate they have children should not
     be   displayed.               In    another          example,       user        14    may    specify
     that only entities between the ages                                  of    20    and 30 should
10   be   present            in    result       list           31.      In     some       embodiments,
     matching          server       20    may       implement           these    restrictions             in
     step    64        of    FIGURE       5.         In       other     embodiments,             however,
     matching server 20 may refuse to apply these restrictions
     to   certain entities                 based on the                characteristics            of     the
15   entities.              Any number of characteristics,                           including those
     described herein,                  may form the basis upon which matching
     server 20 decides not to apply the restrictions submitted
     by user 14.              As an example only,                      matching server 20 may
     ignore       the       restrictions            if    the        entity has       a    high enough
20   attractiveness               rating.           In    another        example,          though       user
     14 has requested that no profiles which are located more
     than 50 miles away should be present                                    in result           list    31,
     matching          server       20     may        include          such     profiles          because
     those    profiles             have        over       5    matching        keywords,          a     high
25   attractiveness               rating,       and       have        specified the          same       life
     goals    as       user       14.      Thus,         in some        embodiments,             matching
     server       20    may refuse             to   apply restrictions                    submitted by
     user    14    based on              any    combination             of    characteristics             or
     algorithms.
30           An    advantage             present          in     many    embodiments             is     that
     through taking into account various                                 factors          when scoring
     potential matches and using only very few strict filters,
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     a    large amount of result entities may be returned to the
     user.      A further advantage is that the ordering algorithm
     will     put   the   most    relevant    search results         first,    saving
     the user time.
 5            Although    several     embodiments     have       been   illustrated
     and     described      in     detail,    it   will    be    recognized      that
     substitutions          and     alterations      are        possible      without
     departing       from    the     spirit    and   scope      of   the   appended
     claims.
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     WHAT IS CLAIMED IS:
           l.     A matching method,            comprising:
                  generating a pool of entities;
                  applying at          least one scoring algorithm to the
 5   pool of entities;
                  tabulating at least one score from the at least
     one scoring algorithm;
                  applying an ordering algorithm                         to    the at          least
     one score; and
10                presenting       a    list    of    matches       ordered              based    on
     the results of the ordering algorithm.


           2.     The method of Claim l               wherein generating a pool
     comprises:
15                choosing at least one seed entity;
                  generating       a    score       by    comparing           the        at    least
     one seed entity with other entities;
                  setting a threshold score;
                  adding      entities         to    the    pool         whose          score     is
20   above the threshold score.


           3.     A matching system comprising:
                  a   first      platform       configured          to    store           a    first
     set of user profiles;
25                a   second platform configured to store a                                   second
     set of     user profiles,         search       through both the                    first    set
     and   second     set   of   user    profiles,          present           to    the       second
     platform     search    results      from       the     first    set           of    profiles
     within     the   second      platform,         and     present           to        the    first
30   platform     search      results     from        the    second            set       of     user
     profiles within the first platform.
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                                         114




                                                           100
                                                           I                   MATCHING
                                                                                SERVER
                                                                                   20
                                    22              24




                                    22
                                         FIG. JA



            0

                0
                    0




                                                                          20
                                                                    /
       10                                 ,__              ::

                                               ~26a                        ~28
  12.....,___                                                   c../'26
            . DISPLAY
            1
                                                                           ~ 28
 16 ~ INTERFACE          I                     ~26b
                                                0
                                                                               0

                                                                               0

                                                                               0

                                                0

       FIG. JB

                                                         FIG. JC
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                                            214

                 NAME                     PROPERTY 1 PROPERTY 2        0   0   0




            Jane Doe../ 3         oa                                               26a
            Jane Roe...../30b
       30   Jane Boe _ r 30c
                                                                       0   0   0
            Jane Loe '-- 0d
                        3
            Jane Snoe'--   e     30
                 0

                 0

                 0




                                       FIG. JD

                                       SEARCH RESULTS

                                         31 a           33 ~34
                     1 . Jane Doe/                           ~

            31       2. Jane Roe...../31 b      View    33 ~34

                     3
                         .Jan!
                                 808
                                       '--31c ~33            ~34
                             0




                                                       See More


                                        FIG. JE



                                                       Jane Doe
                                                        Contact   -:Y 35

                     Born: 10/01/75
                     Hometown: Dallas. TX
                     Likes: Chocolate, rollerblading
                     Dislikes: Body odor, arrogance, football


                                        FIG. IF
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                              lHatclting Process System and lvletlwd
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                                                           314



                                     SEARCH RES ULTS


                         Jane Doe
123 '--....
                    31   Jane Boe


                         Jane Loe         Ii Sally recom~ended her h_
                                                                                                 39
                                                                                                                            FIG. 2
                              HARRY'S SEARCH RESULTS

                                           1G             ·            V-37
                         Jane Doe ILRecornmend ~


12b                 31   Jane Boe [RecomfT1end


                         Jane Loe                    om mend




                         12

         <handle>
                                  <handle> is                                  \~!='!'!.~--~~~- _a_n_ .E:f11!1i I/:\::::
                                waiting for you to
                               reply to her e-mail.                                  Not Interested               _=-:J
                          :: Do you__·0.~~-~-h_?_.{f?:{){~::}}}\}IJI?\{{{:::::?:::·::::::::::::::::::-:.:.::::
                              Physical Compatibility: High
                              Intellectual Compatibility: High                                                               FIG. 3
          Age                 Values Compatibility: Moderately High
        Location          ·····-··················-···············-··········-·················-··· ·-·-·················
   Gender/Age Seeking     ::_is__ !!. f(l_t_~~._{\:}:{{:}{{::{:}}:\/:~/:/:}:}\/{:}}::{:})}{{:}}}:

                     32 ../ You and <handle> both like music, speak German,
                              and mentioned "Play-doh" in your profiles.
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                                414
          20                                           50
                                                            14
          30                                           52



        D                         24
                                                  0
               22                                 22




                            FIG. 4



                                                 62
                          GENERATE POOL


                                                 64
                           APPLY FILTER


                          APPLY SCORING
                                                 66
                           ALGORITHMS

                                                 68
                         TABULATE SCORES


                          APPLY ORDERING
                            ALGORITHM
                                                 70

                           PRESENT LIST
                            OF RESULTS
                                                 72

                             WAIT FOR
                           USER ACTIVITY
                                                 74

                            FIG. 5
